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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 MICHELLE ROBERTSON,

         Plaintiff,

 v.                                                     CASE NO.: 8:17-cv-01077-RAL-MAP

 NAVIENT SOLUTIONS, LLC,

         Defendants.



                                     NOTICE OF SETTLEMENT


        Pursuant to Local Rule 3.08(a), the undersigned hereby gives notice that this matter has been settled

by the parties, and a joint stipulation for dismissal shall be filed upon the execution of the settlement

documentation.



                                     CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed via the Court’s
CM/ECF system on July 10, 2018, which will serve an electronic copy on all parties of record.

                                                  Respectfully submitted,

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